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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY


    In re:                                                          Chapter 11

    BOWFLEX INC., et al., 1                                         Case No. 24-12364 (ABA)

                              Debtors.                              (Joint Administration Requested)




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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are: BowFlex Inc. (2667) and BowFlex New Jersey LLC (3679). The Debtors’ service address is 17750
      S.E. 6th Way, Vancouver, Washington 98683.
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                         DEBTORS’ MOTION FOR ENTRY OF
                  INTERIM AND FINAL ORDERS (A) AUTHORIZING
                 DEBTORS TO OBTAIN POSTPETITION FINANCING
            AND GRANT SECURITY INTERESTS AND SUPERPRIORITY
     ADMINISTRATIVE EXPENSE STATUS PURSUANT TO 11 U.S.C. §§ 105, 364(c)
    AND 364(d); (B) MODIFYING THE AUTOMATIC STAY PURSUANT TO 11 U.S.C.
       § 362; (C) AUTHORIZING DEBTORS TO ENTER INTO AGREEMENTS
        WITH CRYSTAL FINANCIAL LLC D/B/A SLR CREDIT SOLUTIONS;
         (D) AUTHORIZING DEBTORS TO USE CASH COLLATERAL; AND
                   (E) SCHEDULING A FINAL HEARING PURSUANT
                           TO BANKRUPTCY RULE 4001

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        BowFlex Inc. and its debtor affiliate, as debtors and debtors in possession in the

above-captioned chapter 11 cases (collectively, the “Debtors”), hereby submit this motion

(this “Motion”), 2 under sections 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d),

364(e), 506(c) (subject to entry of Final Financing Order (as defined below)), 507 and 552 of

title 11 of the United States Code (the “Bankruptcy Code”), rules 2002, 4001(c), 6003, 6004, and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 4001-1,

4001-2, 4001-3, 9013-1, 9013-2, 9013-4, and 9013-5 of the Local Rules of the United States

Bankruptcy Court for the District of New Jersey (the “Local Rules”), for entry of an interim order

and a final order: (a) authorizing debtors to obtain postpetition financing and grant security

interests and superpriority administrative expense status pursuant to 11 U.S.C. §§ 105, 364(c)

and 364(d); (b) modifying the automatic stay pursuant to 11 U.S.C. § 362; (c) authorizing debtors

to enter into agreements with Crystal Financial LLC d/b/a SLR Credit Solutions; (d) authorizing

debtors to use Cash Collateral; and (e) scheduling a final hearing pursuant to Bankruptcy

Rule 4001. In support of this Motion, the Debtors respectfully submit the First Day Declaration


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    Capitalized terms used but not otherwise defined in this Motion shall have the meanings ascribed to them in:
    (a) the Declaration of Aina E. Konold in Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings
    (the “First Day Declaration”); (b) the DIP Credit Agreement (as defined below), filed contemporaneously with
    this Motion and incorporated by reference herein; and (c) the Interim Order (as defined below).

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and the Declaration of Robert A. Del Genio in Support of the Debtors’ Motion for Entry of Interim

and Final Orders (A) Authorizing Debtors to Obtain Postpetition Financing and Grant Security

Interests and Superpriority Administrative Expense Status Pursuant to 11 U.S.C. §§ 105, 364(c)

and 364(d); (B) Modifying the Automatic Stay Pursuant to 11 U.S.C. § 362; (C) Authorizing

Debtors to Enter into Agreements with Crystal Financial LLC d/b/a SLR Credit Solutions;

(D) Authorizing Debtors to Use Cash Collateral; and (E) Scheduling a Final Hearing Pursuant to

Bankruptcy Rule 4001 (the “Del Genio DIP Declaration”), filed contemporaneously herewith. In

further support of this Motion, the Debtors respectfully state as follows:

                                           Introduction

       1.      Over the past several decades, the Company has become a leading marketer,

developer, and manufacturer of health and fitness products sold under several marquee fitness

brands, including Nautilus, BowFlex, Schwinn, and JRNY. In recent years, the Company has

made strategic moves to transform the business, including adopting a consumer-first mindset

and developing an adaptive connected-fitness platform.

       2.      However, as described in the First Day Declaration, the Company’s continued

growth and success has faced significant headwinds. The health and fitness marketplace is

extremely competitive, and is subject not only to broad market variables and macro-economic

conditions, such as supply constraints and borrowing expenses, but also to cyclical consumer

behavior and, at times, to unpredictable (and short-lived) trends. The Company maintained a

competitive advantage in the health and fitness marketplace for several years, but, as discussed

below, unforeseen and dramatic shifts in consumer fitness brought on by the COVID-19 pandemic

and related economic and commercial constraints impacted the Company’s ability to adjust to

diverging consumer preferences and demand.



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       3.      The COVID-19 pandemic drastically shifted consumer behavior within the health

and fitness industry as consumers changed the way they approached fitness by moving from

activities and classes based in gyms and studios to the home. Although this shift in consumer

behavior brought potential opportunity for the Company, it also brought on challenges. Notably,

the biggest challenge in this period came from the Company’s retail sales. Reacting to the lack of

inventory for the 2020 holiday season due to the “pull-forward” of consumer demand, the

Company’s retailers ordered record inventory for the 2021 holiday season. To fulfill its retailers’

orders, the Company increased its orders from its inventory suppliers and made other adjustments

to the business, ultimately increasing costs. However, by late 2021, demand started to normalize,

and, coupled with the increased offerings in the market, retailers were left with excess inventory

and the Company was left without sufficient revenue to cover its increased expenses. Retailers

have not reordered from the Company, as expected, and the marketplace is now saturated with

product offerings, which hinders the Company’s ability to attain the benchmarks necessary to

service its obligations and operate as a going concern.

       4.      Interest rate pressures have also impacted the Company’s liquidity. The interest

components of the facility provided for under the Prepetition Credit Agreement (as defined below),

as amended, fluctuate based on certain base rates (i.e., SOFR). Due to increased interest rate

pressures in the past twelve months, interest rate expense has increased from approximately $1.085

million in FY 2021 to approximately $3.795 million in FY 2023.

       5.      In the wake of the shift in consumer behavior and preferences, industry headwinds,

continuing liquidity pressures, and anticipated needs for additional funding in the near term, the

Company faced an urgent need for restructuring efforts to stabilize the Company and assess the

long-term viability of the business.



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        6.      In late 2022, the Company interviewed professionals to assist with contingency

planning. The Company, assisted by its advisors, focused on exploring deals with various

counterparties for most of 2023. Despite the efforts of the Company and its advisors, the Company

was unable to find a counterparty who was able to gain the necessary approvals to consummate a

sale out of court.

        7.      Working with FTI Capital Advisors, LLC (“FTICA”) and FTI Consulting, Inc.

(“FTI Consulting,” and, together with FTICA, “FTI”), the Company, facing a short liquidity

runway and growing payables, explored an in-court sale. It became clear that there was robust

interest in an in-court 363 sale process. Accordingly, the Company has determined that an

expeditious sale process and resolution of these cases is necessary to preserve its limited liquidity

and ensure the greatest possible recovery for its stakeholders.

        8.      Further, as detailed in the First Day Declaration, prior to the Petition Date, the

Debtors access to available cash was limited because both the Debtors’ Prepetition Term Loan

Lenders and Prepetition Revolver Lenders had exercised dominion over various bank accounts.

The Debtors and their advisors spent numerous hours negotiating access to such cases with the

Debtors’ prepetition lenders which was critical to providing the Debtors with sufficient resources

to continue operations prior to the filing while the Debtors negotiated the Stalking Horse Bid as

well as to continue operations during the chapter 11 cases through the sale process.

        9.      As a result, the Debtors worked with SLR, as agent, as well as the Prepetition Term

Loan Lenders, on financing terms designed to minimize any disruption, both in the lead up to these

chapter 11 cases and with respect to the Debtors’ postpetition operations. Through discussions

with its Prepetition Term Loan Lenders, the Debtors were granted access to sufficient funds to pay

in full the Debtors’ obligations under the Prepetition Revolver Credit Agreement prior to the



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bankruptcy filing, cash collateralize outstanding letters of credit and certain bank products

provided by Wells Fargo to ensure access to such critical financial accommodations during these

Chapter 11 Cases. In addition, the DIP Facility provides the Debtors with needed liquidity to fund

ongoing operations during these Chapter 11 Cases during the sale process. Without access to the

Prepetition Term Loan Lenders’ Cash Collateral—as well as the DIP Facility—the Debtors would

not be able to finance these chapter 11 cases.

       10.     The continued cooperation of key business partners, including vendors, is critical

at the early stage of these chapter 11 cases. Otherwise, the Debtors risk facing a value-destructive

interruption to their businesses and, simultaneously, eliminate their best chance for negotiating

and consummating a sale, to the detriment of the Debtors, their estates, and all stakeholders,

including the collateral positions of their secured lenders. It is important to the Debtors’ ability to

reassure their suppliers, customers, vendors, employees, and other stakeholders that the Debtors

have adequate liquidity to fund these chapter 11 cases and have the support. As such, and due to

their current limited liquidity, the Debtors require immediate access to the DIP Facility and use of

Cash Collateral to operate their businesses, preserve value, and avoid irreparable harm pending the

final hearing. Without access to the DIP Facility and use of Cash Collateral, the Debtors face

liquidation.

       11.     Absent immediate access to incremental liquidity in the form of postpetition

financing and Cash Collateral, the Debtors risk a disorderly liquidation from the outset of these

cases. Entry into the DIP Facility will preserve and maximize the value of the Debtors’ estates in

the immediate term, allowing the Debtors to pursue a sale process.

       12.     Thus, for the reasons set forth herein, in the First Day Declaration and the Del Genio

DIP Declaration, the Debtors believe that approval of the DIP Facility will allow the Debtors to



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maximize the value of the Debtors’ estates for the benefit of all of the Debtors’ stakeholders and

is an exercise of the Debtors’ sound business judgment. Accordingly, the Debtors respectfully

request that the Court approve the relief requested herein and enter an interim order substantially

in the form attached hereto as Exhibit A (the “Interim Order”) and a final order.

                                            Jurisdiction

          13.   The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Standing Order of Reference

to the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.). This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Debtors confirm their

consent to the entry of a final order or judgment by the Court in connection with this Motion if it

is determined that the Court, absent consent of the parties, cannot enter final orders or judgments

in connection herewith consistent with Article III of the United States Constitution.

          14.   The bases for the relief requested herein are sections 105, 361, 362, 363, 364(c)(1),

364(c)(2), 364(c)(3), 364(d), 364(e), 506(c) (subject to entry of Final Financing Order (as defined

below)) 507 and 552 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001(c), 6003, 6004, and

9014, and Local Rules 4001-1, 4001-2, 4001-3, 9013-1, 9013-2, 9013-4, and 9013-5.

          15.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         Relief Requested

          16.   By this Motion, the Debtors seek entry of the Interim Order, substantially in the

form attached hereto as Exhibit A, and the final order, granting, among other things, the following

relief:

                i.     authorization for BowFlex to obtain, and for BowFlex New Jersey to
                       guarantee unconditionally, on a joint and several basis, postpetition loans,

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                    advances and other financial accommodations on an interim basis for a
                    period through and including the date of the Final Hearing (as defined in
                    the Interim Order) from the DIP Lenders (as defined below) and Crystal
                    Financial LLC d/b/a SLR Credit Solutions (“SLR”), as administrative and
                    collateral agent (in such capacity, together with its successors and permitted
                    assigns, the “DIP Agent”), pursuant to the DIP Loan Documents (as defined
                    below) and in accordance with all of the borrowing requirements, terms and
                    conditions set forth in the DIP Credit Agreement (as defined below), and in
                    accordance with the Interim Order, secured by (i) superpriority priming
                    security interests in and liens upon all Prepetition Collateral (as defined in
                    the DIP Credit Agreement) pursuant to section 364(d) of the Bankruptcy
                    Code, subject only to the Permitted Liens and Claims (as defined below),
                    and (ii) senior priority security interests in and liens upon all other Collateral
                    (as defined in the Interim Order) pursuant to sections 364(c)(2) and
                    364(c)(3) of the Bankruptcy Code, subject only to the Permitted Liens and
                    Claims;

           ii.      authorization for the Debtors to enter into (a) that certain Amendment No.
                    3 to Term Loan Credit Agreement and Loan Documents (the
                    “Amendment”), a copy of which is attached hereto as Exhibit 1 and is
                    incorporated herein (the Prepetition Credit Agreement (as defined below),
                    as amended by the Amendment and as the same may be amended, restated,
                    supplemented, or otherwise modified from time to time, the “DIP Credit
                    Agreement” (a copy of which is attached hereto as Exhibit 1), by and
                    among the Debtors, the DIP Agent and the Lenders (as defined in the DIP
                    Credit Agreement) (collectively, the “DIP Lenders,” and together with the
                    DIP Agent, the “DIP Secured Parties”) and (b) the Loan Documents as
                    defined in the DIP Credit Agreement, including that certain fee letter dated
                    March 5, 2024, delivered from the DIP Agent to the Debtors (the “SLR Fee
                    Letter,” DIP Budget (as defined below) and the DIP Credit Agreement, as
                    such Loan Documents may be amended, restated or supplemented from
                    time to time, collectively, the “DIP Loan Documents”) and to perform
                    such other acts as may be necessary, desirable or appropriate in connection
                    with this Interim Order and the DIP Loan Documents;

           iii.     authorization for the Debtors to incur obligations in connection with the DIP
                    Credit Agreement in an aggregate principal amount of up to $25,000,000
                    (the “DIP Facility”) subject to the terms and conditions set forth in the DIP
                    Credit Agreement, consisting of:

                    a.      Revolving DIP Loans. A new money senior secured super-priority
                            revolving credit facility in an aggregate principal amount of up to
                            $9,000,000 (the obligations thereunder, the “Revolving DIP
                            Obligations”), fully available upon entry of the Interim Order in
                            accordance with the terms and conditions of the DIP Loan
                            Documents; and

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                    b.      Term Loans. A senior secured super-priority term loan facility in
                            an aggregate principal amount of up to $16,000,000 (the “DIP Term
                            Loan Facility”) that upon entry of the Interim Order, will roll-up on
                            a dollar-for-dollar basis an equal amount of Prepetition Term Loan
                            Obligations (as defined below) so that the Prepetition Term Loan
                            Obligations shall constitute obligations under the DIP Term Loan
                            Facility (the obligations thereunder, the “Term DIP Obligations”
                            and collectively with the Revolving DIP Obligations, the “DIP
                            Obligations”);

           iv.      authorization for the Debtors to remit all proceeds of Collateral (as defined
                    in the DIP Credit Agreement), including but not limited to collections and
                    payments made in respect of the Collateral for application to the DIP
                    Obligation as required under the DIP Credit Agreement until such DIP
                    Obligations are fully and indefeasibly repaid;

           v.       authorization for the Debtors to use proceeds of the Revolving DIP Loans
                    (as defined in the Interim Order) and Cash Collateral including Eligible
                    Cash (as defined in the DIP Credit Agreement) for payment of the items
                    specified in the DIP Budget and in accordance with the terms of the DIP
                    Loan Documents;

           vi.      the grant to the DIP Agent, for the benefit of itself and the other DIP Secured
                    Parties, of superpriority administrative claims pursuant to section 364(c)(1)
                    of the Bankruptcy Code in respect of all DIP Obligations;

           vii.     approving certain stipulations by the Debtors with respect to the Prepetition
                    Term Loan Documents (as defined below) and the rights, claims, liens and
                    security interests arising therefrom;

           viii.    authorizing the Debtors to use Cash Collateral (as such term is defined in
                    section 363 of the Bankruptcy Code), including any Eligible Cash, of the
                    Prepetition Term Loan Lenders (as defined below), if any, in accordance
                    with the Interim Order and the DIP Loan Documents;

           ix.      granting adequate protection to (a) the Prepetition Term Loan Agent (as
                    defined below) and the Prepetition Term Loan Lenders in respect of all
                    diminution in the Prepetition Secured Parties’ (as defined below) interests
                    in the Collateral, including, but not limited to, the Debtors’ use of Cash
                    Collateral and other Collateral in accordance with and subject to the terms
                    and conditions of the DIP Loan Documents and the Interim Order;

           x.       authorizing the Debtors to grant a priming lien and security interest to Wells
                    Fargo Bank, N.A. (“Wells Fargo”), continue the merchant services
                    agreement with Wells Fargo Merchant Services, L.L.C. (“WFMS,” and,

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                       such agreement, the “WFMS Agreement”), pay amounts owed with respect
                       to the WFMS Agreement (the “WFMS Obligations”), and grant a priming
                       lien and security interest to WFMS;

               xi.     authorizing WFMS to continue to receive or obtain payment for all WFMS
                       Obligations, including, without limitation, by way of recoupment or setoff
                       against sales revenues processed by WFMS on behalf of the Debtors under
                       the WFMS Agreement, or pursuant to the WFMS, the WFMS Cash
                       Collateral (as defined herein);

               xii.    modifying the automatic stay as necessary to authorize each of the
                       Prepetition Revolver Loan Agent and the Bank Product Providers to apply:
                       (a) the Letter of Credit Cash Collateral and/or the Expense Reserve to
                       satisfy the Letter of Credit Obligations; (b) the Bank Product Cash
                       Collateral, the WFMS Cash Collateral, and/or the Expense Reserve to
                       satisfy the Bank Product Obligations (including, without limitation, the
                       WFMS Obligations), as applicable; and (c) the Expense Reserve to satisfy
                       the Expense and Indemnity Obligations, in each case, as the same become
                       due and owing;

               xiii.   effective upon entry of the Final Financing Order (as defined below), the
                       waiver of the Debtors’ rights (i) to assert claims to surcharge against the
                       Collateral pursuant to section 506(c) of the Bankruptcy Code; and (ii) any
                       “equities of the case” exception under section 552(b) of the Bankruptcy
                       Code with respect to the Collateral as to the DIP Secured Parties and the
                       Prepetition Secured Parties;

               xiv.    modification of the automatic stay to the extent hereinafter set forth;

               xv.     the setting of a final hearing on the Motion to be held within 30 days of the
                       entry of the Interim Order to consider entry of a final order (the “Final
                       Financing Order”) authorizing, among other things, the DIP Loan
                       Documents and all borrowings and deemed borrowing thereunder on a final
                       basis, as set forth in the Motion and the DIP Loan Documents; and

               xvi.    the immediate effectiveness of the Interim Order and waiver of any
                       applicable stay (including under Bankruptcy Rule 6004) to permit such
                       immediate effectiveness.

                                   Background of the Debtors

       17.     On the date hereof (the “Petition Date”), each of the Debtors commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to

continue to operate their businesses and manage their properties as debtors in possession pursuant

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to sections 1107(a) and 1108 of the Bankruptcy Code.                       No trustee, examiner, or statutory

committee of creditors has been appointed in these chapter 11 cases.

          18.      BowFlex Inc., together with its debtor and non-debtor affiliates, is a leading

international developer, distributor and manufacturer of health and fitness products sold under

several marquee fitness brands across international markets. The Debtors’ product offerings

include an assortment of high-quality fitness equipment and accessories, including the digital

personal training platform JRNY, for use in consumer and commercial settings.

          19.      Additional information regarding the Debtors’ business and capital structure and

the circumstances leading to the commencement of these chapter 11 cases is set forth in the First

Day Declaration, incorporated herein by reference.

         Concise Statement Pursuant to Bankruptcy Rule 4001(b) and Local Rule 4001-3

I. Concise Statement Regarding the DIP Facility

          20.      The below chart contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant source documents, as

required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and Local Rule 4001-3.3. 3

       Bankruptcy Code                                      Summary of Material Terms
    Borrowers                    BowFlex Inc. and Nautilus Fitness Canada, Inc.
    Bankruptcy Rule
    4001(c)(1)(B)                See Amendment, Preamble.
    Guarantors                   Nautilus Fitness International B.V.
    Bankruptcy Rule              Nautilus Switzerland AG
    4001(c)(1)(B)                Nautilus Fitness UK LTD
                                 BowFlex Delaware LLC
                                 BowFlex New Jersey LLC

                                 See Amendment, Signature Pages.




3
      The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
      referenced. To the extent anything in this Motion is inconsistent with such documents, the terms of the applicable
      documents shall control. Capitalized terms used in the following summary chart but not otherwise defined have
      the meanings ascribed to them in the DIP Credit Agreement or the Interim Order, as applicable.

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     Bankruptcy Code                                   Summary of Material Terms
 DIP Agent                  Crystal Financial LLC d/b/a SLR Credit Solutions
 Bankruptcy Rule
 4001(c)(1)(B)              See Amendment, Preamble.

 DIP Lenders                Crystal Financial SPV LLC
 Bankruptcy Rule            Crystal Financial LLC
 4001(c)(1)(B)
                            See Amendment, Signature Pages.

 Reporting Information      The DIP Credit Agreement includes standard and customary conditions that require
 Bankruptcy Rule            the Borrowers to provide periodic reports to the DIP Agent and their respective
 4001(c)(1)(B)              professionals regarding the Approved Budget, financial statements of the
                            Borrowers, key performance reports, and certain other matters.

                            See DIP Credit Agreement §§ 5.1-5.2, 7(c).

 Term                       “Maturity Date” shall mean the earliest to occur of (a) six months after the
 Bankruptcy Rule            Amendment No. 3 Effective Date, (b) the effective date of an Acceptable Plan of
 4001(b)(l)(B)(iii),        Reorganization, (c) the Disposition, directly or indirectly, of all or substantially all
 4001(c)(1)(B)              of the assets of any Domestic Loan Party (other than the Equity Interests of any
                            Foreign Loan Party or Foreign Subsidiary) (including, in the case of this clause (c),
 Local Rule 4001-3          under Section 363 and/or 365 of the Bankruptcy Code), (d) the first day on which
                            the Interim Financing Order expires by its terms or its terminated, unless the Final
                            Financing Order has been entered and become effective prior thereto, (e) the date
                            which is thirty (30) days after the Petition Date if the Final Financing Order has not
                            been entered by the Bankruptcy Court on or prior to such date, (f) the date the Final
                            Financing Order is vacated, terminated, rescinded, revoked, declared null and void
                            or otherwise ceases to be in full force and effect, (g) the date of a conversion of any
                            of the Chapter 11 Cases to Chapter 7 of the Bankruptcy Code, unless otherwise
                            consented to in writing by the Agent and the Required Lenders, (h) the date of
                            dismissal of any of the Chapter 11 Cases, unless otherwise consented to in writing
                            by the Agent and the Required Lenders, (i) the date of an appointment of an interim
                            or permanent trustee in the Chapter 11 Cases or the appointment of a trustee receiver
                            or an examiner in the Chapter 11 Cases with expanded powers to operate or manage
                            the financial affairs, the business, or reorganization of the Loan Parties and (j) the
                            acceleration of the Loans and the termination of the commitment to make Loans
                            under the Credit Facility in accordance with the DIP Credit Agreement.

                            See DIP Credit Agreement § 1.1.

 Commitment                 Revolving DIP Loans: $9,000,000
 Bankruptcy Rule            Roll-up of Prepetition Term Loan Obligations: $16,000,000
 4001(c)(1)(B)
                            See DIP Credit Agreement Recitals, § 2.1.
 Local Rule 4001-3


 Conditions of Borrowing    The DIP Loan Documents contain conditions that are customary and appropriate for
 Bankruptcy Rule            similar debtor in possession financings.
 4001(c)(1)(B)
                            See DIP Credit Agreement §§ 3.1, 3.2.
 Local Rule 4001-3



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    Bankruptcy Code                                 Summary of Material Terms
 Interest Rates          Interest Rate. Adjusted Term SOFR plus 8.25% (the “Interest Rate”)
 Bankruptcy Rule
 4001(c)(1)(B)           Default Rate. Interest Rate + 2%.

 Local Rule 4001-3       See DIP Credit Agreement § 2.6(a), (c).

 Use of DIP Financing    The proceeds of the DIP Facility shall be used to, among other things, (i) pay the
 Facility and Cash       fees, costs, and expenses incurred in connection with the DIP Credit Agreement
 Collateral              and the other Loan Documents, and (ii) to pay amounts associated with the Term
 Bankruptcy Rule         Loan as provided in the Approved Budget and for working capital and general
 4001(b)(l)(B)(ii)       corporate purposes of the Borrowers.

 Local Rule 4001-3       See DIP Credit Agreement § 6.11.

 Adequate Protection     Replacement Liens. As adequate protection for the diminution in value of their
 Bankruptcy Rules        interests in the Collateral (including Cash Collateral) on account of the Debtors’ use
 4001(b)(l)(B)(iv),      of such Collateral (including Cash Collateral), the imposition of the automatic stay
 4001(c)(1)(B)(ii)       and the subordination to the Carve Out Expenses, the Prepetition Term Loan Agent,
                         for the benefit of itself and Prepetition Term Loan Lenders (each in their respective
                         capacities under the Prepetition Term Loan Documents), is hereby granted pursuant
                         to sections 361 and 363 of the Bankruptcy Code, valid, binding, enforceable and
                         perfected replacement liens upon and security interests in all Collateral (the “Term
                         Loan Replacement Lien”). The Term Loan Replacement Lien shall be subject and
                         subordinate to (i) the Permitted Liens and Claims and (ii) the liens and security
                         interests granted to the DIP Secured Parties in the Collateral securing the DIP
                         Obligations, and shall otherwise be senior to all other security interests in, liens on,
                         or claims against any of the Collateral.

                         Section 507(b) Priority Claims. As adequate protection for the diminution in value
                         of their interests in the Collateral (including Cash Collateral) on account of the
                         Debtors’ use of such Collateral (including Cash Collateral), the imposition of the
                         automatic stay and the subordination to the Carve Out Expenses, the Prepetition
                         Term Loan Agent, for the benefit of itself and Prepetition Term Loan Lenders (each
                         in their respective capacities under the Prepetition Term Loan Documents), is hereby
                         granted as and to the extent provided by section 507(b) of the Bankruptcy Code an
                         allowed superpriority administrative expense claim in each of the Cases and any
                         Successor Cases (the “Adequate Protection Superpriority Claim”). The Adequate
                         Protection Superpriority Claim shall be subject to the Permitted Liens and Claims
                         and the Superpriority Claim of the DIP Secured Parties, and shall otherwise have
                         priority over all administrative expense claims and unsecured claims against the
                         Debtors and their Estates now existing or hereafter arising, of any kind or nature
                         whatsoever.

                         Additional Adequate Protection.

                         (1) Fees and Expenses. As further adequate protection, the Debtors are authorized
                         to pay, without further Court order, reasonable and documented legal fees and
                         expenses, incurred before the Petition Date, of counsel to the Prepetition Term Loan
                         Agent (in its capacity under the Prepetition Term Loan Documents) then owing
                         under the Prepetition Credit Agreement. In addition, the Debtors are authorized to
                         pay, without further Court order, reasonable and documented legal fees and
                         expenses, incurred after the Petition Date, of counsel to the Prepetition Term Loan
                         Agent (in its capacity under the Prepetition Term Loan Documents); provided, that
                         (a) the U.S. Trustee and the Committee shall have ten (10) days from receipt to

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                               review the summary legal invoices of such counsel, and (b) in the event the U.S.
                               Trustee or Committee files with this Court an objection to any such legal invoice
                               within ten (10) days of its receipt thereof, the undisputed portion of such legal invoice
                               shall be paid without further order of the Court whereas the portion of such legal
                               invoice subject to such objection shall not be paid until resolution of such objection
                               by this Court and (c) in the event neither the U.S. Trustee nor the Committee shall
                               file with this Court an objection to any such legal invoice within ten (10) days of its
                               receipt thereof, such legal invoice shall be paid without further order of the Court
                               and shall not be subject to any further review, challenge or disgorgement.

                               (2) Adequate Protection Payments. As further adequate protection, the Prepetition
                               Term Loan Agent, on behalf of itself and the other Prepetition Secured Parties, shall
                               receive, upon entry of the Interim Order, at any time and for so long as any
                               Prepetition Term Loan Obligations remain outstanding, monthly adequate protection
                               payments, as and when due under the applicable Prepetition Term Loan Documents
                               equal to the interest at the contractual non-default rate that would otherwise be owed
                               to the Prepetition Secured Parties under the Prepetition Term Loan Documents
                               during such monthly period in respect of the Prepetition Term Loan Obligations,
                               until such time as the Prepetition Term Loan Obligations are indefeasibly paid in
                               full or constitute DIP Obligations for all purposes and in either case are no longer
                               subject to challenge. Any such payments may be subject to disgorgement or
                               recharacterization as principal repayment to the extent of a successful, final, and non-
                               appealable Objection (as defined in the Interim Order), to the extent ordered by the
                               Court.

                               (3) Information Rights. The Debtors shall promptly provide the Prepetition Term
                               Loan Agent with all required financial reporting and other periodic reporting that is
                               required to be provided to the DIP Agent under the DIP Loan Documents.

                               See Interim Order §§ 2.8.4-2.8.6.

 Roll-Up                       Upon entry of the Interim Order, the Borrowers are authorized and empowered to
 Local Rule 4001-2(a)(i)(E)    roll up all of the outstanding Prepetition Term Loan Obligations (including interest,
                               fees, indemnities and other expenses provided for in the Prepetition Term Loan
                               Documents), other than the Non-Rollup Obligations (as defined in the Interim
                               Order), into the Term DIP Obligations.

                               See DIP Credit Agreement Recitals; Interim Order § 1.2.2.

 Budget                        The Debtors are permitted to use the proceeds of the DIP Facility and the Cash
 Bankruptcy                    Collateral in accordance with the DIP Budget, substantially in the form attached to
 Rule 4001(c)(1)(B)            the Interim Order as Exhibit 2 thereto.

 Local Rule 4001-3             See DIP Credit Agreement § 7; Interim Order Exhibit 2.

 Variance Covenant             Commencing with the week ending March 8, 2024 and for each calendar week
 Bankruptcy
                               thereafter, the Loan Parties shall not permit (i) Actual Cash Receipts for any
 Rule 4001(c)(l)(B)
                               Cumulative Two-Week Period or the Cumulative Period to be less than 90% of
 Local Rule 4001-3             Budgeted Cash Receipts for any such Cumulative Two-Week Period or Cumulative
                               Period, as applicable, measured on a cumulative basis, or (ii) the Actual Operating
                               Disbursement Amount for any Cumulative Two-Week Period or the Cumulative
                               Period to be greater than 110% of Budgeted Operating Disbursement Amount for


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                               any such Cumulative Two-Week Period or Cumulative Period, as applicable,
                               measured on a cumulative basis.

                               The Borrowers shall deliver to the Agent on or before 12:00 p.m. Eastern time on
                               Thursday of each week a Compliance Certificate, and such Compliance Certificate
                               shall include such detail as is reasonably satisfactory to the Agent, signed by a
                               Responsible Officer of the Administrative Borrower certifying that (i) the
                               Borrowers are in compliance with the covenants contained in Section 7(b), (ii) no
                               Default or Event of Default has occurred or, if such a Default or Event of Default
                               has occurred, specifying the nature and extent thereof and any corrective action
                               taken or proposed to be taken with respect thereto, and (iii) attaching an Approved
                               Budget Variance Report.

                               See DIP Credit Agreement §§ 7(b)-7(c).

 Events of Default             Events of Default. The occurrence of any of the following events shall constitute an
 Bankruptcy Rule               “Event of Default” under the Interim Order:
 4001(c)(l)(B)
                                        a.   Any Debtor’s failure to perform, in any respect, any of the terms,
 Local Rule 4001-3                           conditions or covenants or their obligations under the Interim Order;
                                             or

                                        b.   An “Event of Default” under the DIP Credit Agreement or any of the
                                             other DIP Loan Documents.

                               See DIP Credit Agreement § 8, Interim Order § 3.1.

 Indemnification               The DIP Loan Documents contain indemnification provisions ordinary and
 Bankruptcy Rule               customary for DIP financings of this type by the Borrowers in favor of the
 4001(c)(1)(B)(ix)             Agent-Related Persons, the Lender-Related Persons, and each Participant (each as
                               defined in the DIP Credit Agreement) subject to customary carve-outs.

                               See DIP Credit Agreement § 10.3.

 Entities with Interests in    As of the Petition Date, the Prepetition Secured Parties have an interest in Cash
 Cash Collateral               Collateral.
 Bankruptcy Rule
 4001(b)(l)(B)(i)              See Interim Order § 2.8.1.

 Carve Out                     Carve Out Expenses. The DIP Secured Parties’ liens, claims and security interests
 Bankruptcy Rule               in the Collateral and their Superpriority Claim shall each be subject to the following
 4001(c)(1)(B)                 expenses (the “Carve Out Expenses”):

 Local Rule 4001-3                      a.   statutory fees payable to the U.S. Trustee pursuant to 28 U.S.C.
                                             § 1930(a)(6);

                                        b.   fees payable to the Clerk of this Court;

                                        c.   fees and expenses of any chapter 7 trustee appointed in any Debtor’s
                                             bankruptcy cases, not to exceed, in the aggregate, $10,000;



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                                 d.   subject to the terms and conditions of the Interim Order, Allowed
                                      Professional Fees (as defined in the Interim Order) incurred during
                                      the period commencing on the Petition Date and ending on the
                                      Trigger Date (as defined in the Interim Order) (the “Pre-Trigger
                                      Date Period”) by attorneys, accountants and other professionals
                                      retained by the Debtors and any Committee(s) under section 327 or
                                      1103(a) of the Bankruptcy Code (collectively, the “Professionals”);
                                      provided that the aggregate amount of such Allowed Professional
                                      Fees included in the Carve Out Expenses pursuant to this clause (d)
                                      shall be the lesser of (A) the budgeted amount of Allowed
                                      Professional Fees in the DIP Budget for the Pre-Trigger Date Period
                                      up to a maximum of $550,000 per week during the Pre-Trigger Date
                                      Period for all Professionals and an aggregate of $2,750,000 for all
                                      Professionals for all weeks during the Pre-Trigger Date Period and
                                      (B) the actual Allowed Professional Fees incurred during the Pre-
                                      Trigger Date Period; less the sum of all Allowed Professional Fees
                                      incurred during the Pre-Trigger Date Period and paid at any time, and
                                      any retainers held by any Professional (the “Pre-Trigger Date
                                      Professional Fee Carve Out”); and

                                 e.   subject to the terms and conditions contained in the Interim Order,
                                      Allowed Professional Fees incurred by Professionals on or after the
                                      Trigger Date in an aggregate amount not to exceed $250,000 (the
                                      “Post-Trigger Date Professional Fee Carve Out,” and together with
                                      the Pre-Trigger Date Professional Fee Carve Out, collectively, the
                                      “Professional Fee Carve Out”).

                        See Interim Order § 2.5.1.

 Fees                   Certain Fees. Borrowers shall pay to Agent, as and when due and payable under the
 Bankruptcy             terms of the Amendment No. 3 Fee Letter, the fees set forth in the Amendment No. 3
 Rule 4001(c)(1)(B)     Fee Letter, specifically the Amendment Fee, Agency Fee, and Early Termination
                        Premium, for the account of applicable parties thereunder.
 Local Rule 4001-3
                        Unused Line Fee. Each Borrower agrees to pay to the Agent for the account of each
                        Revolving Lender, an unused line fee (the “Unused Line Fee”), which shall accrue
                        at a rate per annum equal to 0.75% per annum on the average daily unused amount
                        of the Revolving Commitment of such Revolving Lender during the period from and
                        including the Amendment No. 3 Effective Date to but excluding the date on which
                        such Revolving Commitment terminates. For purposes of computing Unused Line
                        Fees, the Revolving Commitment of any Revolving Lender shall be deemed to be
                        used on any date of determination to the extent of the aggregate principal amount of
                        its outstanding Revolving Loans. Accrued Unused Line Fees shall be payable in
                        arrears on the first day of each month, each date on which the Revolving
                        Commitments are permanently reduced and on the date on which the Revolving
                        Commitments terminate, commencing on the first such date to occur after the
                        Amendment No. 3 Effective Date. All Unused Line Fees shall be computed on the
                        basis of a year of 360 days and shall be payable for the actual number of days elapsed
                        (including the first day but excluding the last day).

                        Field Examination and Other Fees. Subject to any limitations set forth in
                        Section 5.7(c) of Exhibit A of the DIP Credit Agreement, Borrowers shall pay to

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                              Agent, field examination, appraisal, and valuation fees and charges, as and when
                              incurred or chargeable, as follows (i) the reasonable and documented fees and
                              charges of field examiners, plus out-of-pocket expenses (including travel, meals, and
                              lodging) for each field examination of any Loan Party or its Subsidiaries performed
                              by or on behalf of Agent, and (ii) the fees, charges or expenses paid or incurred by
                              Agent if it elects to employ the services of one or more third Persons to appraise the
                              Collateral, or any portion thereof.

                              See DIP Credit Agreement § 2.10; Amendment No. 3 Fee Letter §§ 1-3.

 506(c) Waiver                Section 506(c) Claims. Subject to entry of the Final Financing Order, no costs or
 Bankruptcy Rule              expenses of administration which have or may be incurred in the Cases at any time
 4001(c)(l)(B)(x)             shall be charged against or recovered from the DIP Secured Parties or the Prepetition
                              Secured Parties, or their respective claims or Collateral, pursuant to section 506(c)
 Local Rule 4001-3            of the Bankruptcy Code without the prior written consent of the applicable Agent,
                              and no such consent shall be implied from any other action, inaction or acquiescence
 Section 552(b) Bankruptcy    by any Agent or any DIP Security Party or any Prepetition Secured Party.
 Rule 4001(c)(l)(B)
                              See Interim Order § 4.6.1.
 Local Rule 4001-3
                              Marshalling; Section 552(b) Waiver. Subject to entry of the Final Financing Order
                              (i) in no event shall any DIP Secured Party be subject to the equitable doctrine of
                              “marshalling” or any similar doctrine with respect to the Collateral, and (ii) the DIP
                              Secured Parties shall be entitled to all of the rights and benefits of section 552(b) of
                              the Bankruptcy Code, and the “equities of the case” exception under section 552(b)
                              of the Bankruptcy Code shall not apply to either DIP Agent or any DIP Secured Party
                              with respect to proceeds, products, offspring or profits of any of the Collateral.

                              See Interim Order § 5.9.

 Liens on Avoidance           Liens on Avoidance Action Proceeds subject to entry of the Final Financing Order.
 Actions
 Local Rule 4001-3            See DIP Credit Agreement § 5.22; Interim Order § 2.1.

 Stipulations to              After consultation with their attorneys and financial advisors, and without prejudice
 Prepetition Liens and        to the rights of parties-in-interest, the Debtors, on their behalf and on behalf of their
 Claims                       estates, admit, stipulate, acknowledge, and agree immediately upon entry of the
 Bankruptcy Rule              Interim Order, to certain stipulations regarding the validity and extent of the
 4001(c)(1)(B)(iii)           Prepetition Secured Parties’ claims and liens.

 Local Rule 4001-3            See Interim Order ¶ D.

 Liens and Priorities         DIP Loans – Postpetition Lien Granting. To secure the prompt payment and
 Bankruptcy Rule              performance of any and all DIP Obligations of whatever kind, nature or description,
 4001(c)(1)(B)(i)             absolute or contingent, now existing or hereafter arising (including, without
                              limitation, the Prepetition Term Loan Obligations rolled into the Term DIP
 Local Rule 4001-3            Obligations in accordance with the terms hereof), the DIP Agent, for the benefit of
                              itself and the other DIP Secured Parties, shall have and is hereby granted, effective
                              as of the Petition Date, (i) valid and perfected, priming first priority security interests
                              and liens, superior to all other liens, claims or security interests that any creditor of
                              the Debtors’ Estates may have (but subject to the Permitted Liens and Claims (as
                              defined below), as and to the extent expressly provided in Sections 2.3 and 4 below)
                              in and upon all Prepetition Collateral now existing or hereafter acquired and (ii)
                              senior priority security interests and liens, superior to all other liens, claims or

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                       security interests that any creditor of the Debtors’ Estates may have (but subject to
                       the Permitted Liens and Claims, as and to the extent expressly provided in Sections
                       2.3 and 4 below), in and upon all other Collateral; provided, however, that any lien
                       on property and/or proceeds recovered as a result of transfers or obligations avoided
                       or actions maintained or taken pursuant to sections 544, 545, 547, 548, 549, 550,
                       551, and 553 of the Bankruptcy Code shall be subject to entry of the Final Financing
                       Order.

                       DIP Loan Lien Priority. The liens and security interests of the DIP Secured Parties
                       granted under the DIP Loan Documents and the Interim Order in the Collateral shall
                       be and shall continue to be first and senior in priority to all other interests and liens
                       of every kind, nature and description, whether created consensually, by an order of
                       the Court or otherwise, including, without limitation, liens or interests granted in
                       favor of third parties in conjunction with section 363, 364, or any other section of
                       the Bankruptcy Code or other applicable law; provided, however, that the DIP
                       Secured Parties’ liens on and security interests in the Collateral shall be subject only
                       to (i) the Permitted Encumbrances to the extent such Permitted Encumbrances are
                       senior to, and have not been or are subject to being subordinated to, the DIP Agent’s
                       liens on and security interests in the Collateral or otherwise avoided, and only for so
                       long as and to the extent that such Permitted Encumbrances are and remain senior
                       and outstanding and (ii) the Carve Out Expenses solely to the extent provided for in
                       Section 2.7 of the Interim Order (the foregoing clauses (i) and (ii) are collectively
                       referred to herein as the “Permitted Liens and Claims”).

                       Postpetition Lien Perfection. The Interim Order shall be sufficient and conclusive
                       evidence of the priority, perfection and validity of the postpetition liens and security
                       interests granted herein, effective as of the Petition Date, without any further act and
                       without regard to any other federal, state or local requirements or law requiring
                       notice, filing, registration, recording or possession of the Collateral, or other act to
                       validate or perfect such security interest or lien, including without limitation, control
                       agreements with any deposit bank or with any other financial institution(s) holding
                       a depository account or other account consisting of or containing Collateral (a
                       “Perfection Act”). Notwithstanding the foregoing, if the DIP Agent, shall, in its
                       sole discretion, elect for any reason to file, record or otherwise effectuate any
                       Perfection Act, the DIP Agent is authorized to perform such act, and the Debtors are
                       authorized and directed to perform such act to the extent necessary or required by
                       such DIP Agent, which act or acts shall be deemed to have been accomplished as of
                       the date and time of entry of the Interim Order notwithstanding the date and time
                       actually accomplished, and in such event, the subject filing or recording office is
                       authorized to accept, file or record any document in regard to such act in accordance
                       with applicable law. The DIP Agent may choose to file, record or present a certified
                       copy of the Interim Order in the same manner as a Perfection Act, which shall be
                       tantamount to a Perfection Act, and, in such event, the subject filing or recording
                       office is authorized to accept, file or record such certified copy of the Interim Order
                       in accordance with applicable law. Should the DIP Agent so choose and attempt to
                       file, record or perform a Perfection Act, no defect or failure in connection with such
                       attempt shall in any way limit, waive or alter the validity, enforceability, attachment,
                       or perfection of the postpetition liens and security interests granted herein by virtue
                       of the entry of the Interim Order.

                       See Interim Order §§ 2.1-2.3.




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    Bankruptcy Code                               Summary of Material Terms
 Milestones            The Borrowers shall comply with the following milestones in connection with the
 Bankruptcy Rule       chapter 11 cases:
 4001(c)(1)(B)
                           1.   Not later than twenty-four (24) hours after the Petition Date, the Debtors
 Local Rule 4001-3              shall have filed a motion or pleading, in each case in form and substance
                                satisfactory to Agent seeking entry of the Interim Financing Order and the
                                Final Financing Order.

                           2.   Not later than twenty-four (24) hours after the Petition Date, the Debtors
                                shall have filed motion or pleading (the “Sale Motion”), in each case in
                                form and substance satisfactory to Agent, (i) seeking approval of the
                                bidding procedures for the sale of all or substantially all of the Debtors’
                                assets in accordance with section 363 of the Bankruptcy Code (the “Sale”);
                                and (ii) providing that all cash proceeds generated by such Sale(s), less
                                reasonable out of pocket fees, costs and expenses directly arising from, and
                                required to be paid by the Loan Parties in connection with, such Sale(s),
                                including without limitation, reasonable broker’s and/or investment
                                banker’s fees incurred with respect to the Sale(s), in each case pursuant to
                                a retention agreement in form and substance acceptable to Agent, shall be
                                remitted to Agent for application against, and in permanent reduction of,
                                the Obligations (both Pre-Petition Obligations and Postpetition
                                Obligations) within one (1) Business Day of the closing of the sale.

                           3.   Not later than three (3) Business Days after the Petition Date, the Interim
                                Financing Order shall have been entered by the Bankruptcy Court
                                authorizing the secured financing under the Credit Facility on the terms and
                                conditions contemplated by the DIP Credit Agreement and otherwise on
                                terms acceptable to Agent and Lenders, and, inter alia, modifying the
                                automatic stay, authorizing and granting the super-priority security interests
                                and liens described herein and in the other Loan Documents, and granting
                                a super-priority administrative expense claim to Agent and Lenders with
                                respect to all obligations to Agent and Lenders (including the Obligations
                                and including that the Pre-Petition Term Loan is determined to be a
                                Postpetition Obligation), subject to no priority claim or administrative
                                expenses of the Chapter 11 Cases (but subject to the Carve Out Expenses).

                           4.   Not later than ten (10) days after the Petition Date, the Debtors shall have
                                filed a motion requesting the entry of an order to be entered not later than
                                thirty (30) days after the Petition Date, extending the Debtors’ non-
                                residential real property lease assumption/rejection period such that the
                                Debtors’ non-residential real property lease assumption/rejection period
                                shall be 210 days from the Petition Date (the “Lease
                                Assumption/Rejection Period”).

                           5.   Not later than fifteen (15) days after the Petition Date, the Debtors shall
                                obtain the entry of an order of the Bankruptcy Court, in form and substance
                                satisfactory to Agent, approving bid procedures, including, without
                                limitation, an acceptable form of asset purchase agreement to be used for
                                the Sale (the “Bid Procedures Order”).

                           6.   Not later than thirty (30) days after the Petition Date, the Final Financing
                                Order shall have been entered by the Bankruptcy Court.




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                               7.   Not later than thirty (30) days after the Petition Date, the Debtors shall have
                                    obtained an order of the Bankruptcy Court extending the Debtors’ Lease
                                    Assumption/Rejection Period such that the Debtors’ Lease
                                    Assumption/Rejection Period shall be 210 days from the Petition Date.

                               8.   Not later thirty-five (35) days after the Petition Date, the Debtors shall
                                    conduct an auction (the “Auction”) in accordance with the Bid Procedures
                                    Order to select the highest and best bid(s) for the sale of all or substantially
                                    all of the Debtors’ assets in accordance with the Bid Procedures Order,
                                    which bid shall provide for, among other things, a minimum cash amount
                                    not less than the amount required to satisfy the Obligations owed to Agent
                                    and Lenders in full in cash, and copies of which shall be provided to Agent.

                               9.   Not later than forty-two (42) days after the Petition Date, an order, in form
                                    and substance satisfactory to Agent, shall have been entered by the
                                    Bankruptcy Court approving the Sale(s) (the “Sale Order”).

                               10. Not later than forty-nine (49) days after the Petition Date, the closing of the
                                   Bankruptcy Court-approved Sale(s) shall have occurred.

                               11. Not later than forty-nine (49) days after the Petition Date, the Obligations
                                   shall have been paid in full.

                           See Amendment, Schedule 5.21.

 Challenge Period          Objection must be properly filed by the earlier of (y) seventy-five (75) calendar days
 Bankruptcy Rule           from the date of entry of the Interim Order, and (z) the hearing on the sale of
 4001(c)(l)(B)             substantially all of the Debtors’ assets.

 Local Rule 4001-3         See Interim Order § 4.1.

 Waiver/Modification of    Relief from Automatic Stay. The automatic stay provisions of section 362 of the
 the Automatic Stay        Bankruptcy Code and any other restriction imposed by an order of the Court or
 Bankruptcy Rule           applicable law are hereby modified and vacated without further notice, application
 4001(c)(1)(B)(iv)         or order of the Court to the extent necessary to permit the DIP Agent and each DIP
                           Secured Party to perform any act authorized or permitted under or by virtue of the
                           Interim Order, or the DIP Loan Documents, as applicable, including, without
                           limitation, (a) to implement the postpetition financing arrangements authorized by
                           the Interim Order and pursuant to the terms of the DIP Loan Documents, (b) to take
                           any act to create, validate, evidence, attach or perfect any lien, security interest, right
                           or claim in the Collateral, as applicable, (c) to assess, charge, collect, advance, deduct
                           and receive payments with respect to the DIP Obligations, as applicable, including,
                           without limitation, all interests, fees, costs and expenses permitted under the DIP
                           Loan Documents, and apply such payments to the DIP Obligations pursuant to the
                           DIP Loan Documents and the Interim Order, as applicable, and (d) subject to the
                           terms and conditions of this Section 3.5, immediately upon the occurrence of an
                           Event of Default, to take any action and exercise all rights and remedies provided to
                           it by the Interim Order, the DIP Loan Documents, or applicable law other than those
                           rights and remedies against the Collateral as provided in the following sentence. In
                           addition, upon the occurrence of an Event of Default and after providing five (5)
                           business days’ (the “Default Notice Period”) prior written notice (the
                           “Enforcement Notice”) to counsel for the Debtors, counsel for the Committee (if
                           any), and the U.S. Trustee, the DIP Agent, acting on behalf of itself and the DIP
                           Secured Parties, shall be entitled to take any action and exercise all rights and

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                         remedies provided to it by the Interim Order, the DIP Loan Documents or applicable
                         law as the DIP Agent may deem appropriate in its sole discretion to proceed against
                         and realize upon the Collateral or any other assets or properties of Debtors’ Estates
                         upon which the DIP Agent, for the benefit of itself and the DIP Secured Parties, has
                         been or may hereafter be granted liens or security interests to obtain the full and
                         indefeasible repayment of all DIP Obligations. Notwithstanding anything to the
                         contrary, any action taken by the DIP Agent to (A) terminate the commitments under
                         the DIP Loan Documents, (B) accelerate the DIP Loans, (C) send blocking notices
                         or activation notices to any depository bank, and (D) repay any amounts owing in
                         respect of the DIP Obligations (including, without limitation, fees, indemnities and
                         expense reimbursements), in each case, shall not require any advance notice to the
                         Debtors. In any hearing regarding the exercise of rights or remedies (which hearing
                         must take place during the Default Notice Period), the only issue that may be raised
                         by any party in opposition thereto shall be whether, in fact, an Event of Default has
                         occurred and is continuing. The Debtors shall not be entitled to seek relief, including,
                         without limitation, under section 105 of the Bankruptcy Code, to the extent such
                         relief would in any way impair or restrict the rights and remedies of the DIP Agents
                         or the other DIP Secured Parties set forth in the Interim Order or the DIP Loan
                         Documents; provided, further, that during the Default Notice Period, the Debtors
                         shall be entitled to use Cash Collateral solely for payment of the following DIP
                         Budget expenses due and payable during such the Default Notice Period: any accrued
                         and unpaid employee wage, benefit or independent contractor obligations and sales
                         and uses and payroll taxes included in the DIP Budget through the Termination Date
                         and any such other amounts consented to by the DIP Agent, in its sole discretion.

                         See Interim Order § 3.5.


II. The Debtors’ Prepetition Capital Structure

       A.     The Prepetition Credit Agreement.

       21.    Prior to the commencement of the Cases, SLR, as administrative agent and

collateral agent (in such capacity, the “Prepetition Term Loan Agent”), the term lenders party

thereto (the “Prepetition Term Loan Lenders,” and together with the Prepetition Term Loan

Agent, the “Prepetition Secured Parties”), in their respective capacities under the Prepetition

Credit Agreement (as defined below), made terms loans, advances and provided other financial

accommodations to Debtor BowFlex and its affiliates, pursuant to the terms and conditions set

forth in: (i) the Term Loan Credit Agreement, dated November 30, 2022 (as amended by the

Limited Consent and Amendment No. 1 to Term Loan Credit Agreement and Loan Documents,

dated April 25, 2023 (“Amendment No. 1”) and the Amendment No. 2 to Term Loan Credit


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Agreement and Loan Documents, dated July 28, 2023 (“Amendment No. 2”) (the “Prepetition

Credit Agreement”)); (ii) the Guaranty and Security Agreement, dated November 30, 2022 (as

amended by Amendment No. 1, Amendment No. 2, Joinder No. 1 and Amendment to Guaranty

and Security Agreement, dated as of February 16, 2023, Joinder No. 2 and Amendment to

Guaranty and Security Agreement, dated as of March 14, 2023, Joinder No. 3 and Amendment to

Guaranty and Security Agreement, dated as of April 14, 2023, and Joinder No. 4 to Guaranty and

Security Agreement, dated as of January 22, 2024, and Joinder No. 5 to Guaranty and Security

Agreement, dated as of February 19, 2024, the “Prepetition Guaranty and Security

Agreement”); and (iii) all other agreements, documents and instruments executed and/or delivered

with, to, or in favor of the Prepetition Term Loan Agent or any Prepetition Term Lender in

connection with or related to the Prepetition Credit Agreement and the Prepetition Guaranty and

Security Agreement (collectively, the “Prepetition Term Loan Documents”). Copies of the

operative Prepetition Term Loan Documents are on file with counsel to the Debtors and available

upon reasonable request.

       22.     Prepetition Term Loan Obligations Amount. As of the Petition Date, the Debtors

were indebted to the Prepetition Secured Parties under the Prepetition Term Loan Documents in

an aggregate outstanding principal amount of not less than $15,999,234.76, plus interest accrued

and accruing thereon, together with all costs, fees, expenses (including attorneys’ fees and legal

expenses), premiums and other charges accrued, accruing or chargeable with respect thereto

(collectively, the “Prepetition Term Loan Obligations”).

III. The Debtors’ Dealings with Wells Fargo and WFMS

       23.     As described in the Debtors’ Motion for Entry of Interim and Final Orders

(I) Authorizing the Debtors to (A) Continue Use of Their Existing Cash Management System, Bank

Accounts, Credit Card Program, and Business Forms, (B) Continue Intercompany Transactions,
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and (C) Pay Related Prepetition Obligations, (II) Waiving Certain Investment and Deposit

Guidelines, and (III) Granting Related Relief (the “Cash Management Motion”), filed

contemporaneously herewith, the Debtors maintain the Credit Card Program (as defined in the

Cash Management Motion). The indebtedness owed by the Debtors to Wells Fargo from time to

time in respect of the Card Agreement (as defined in the Cash Management Motion) (the “Card

Agreement Obligations”) is secured by the Bank Product Cash Collateral (as defined herein).

        24.     As described in the Cash Management Motion, the Debtors are party to the WFMS

Agreement 4 with WFMS. Indebtedness owed to WFMS from time to time in respect of the WFMS

Agreement (including fees, charges, refunds, chargebacks, and all other amounts owed under the

WFMS Agreement) (the “WFMS Obligations) is secured by the Bank Product Cash Collateral

and an additional cash collateral reserve of $1,200,000, pursuant to the terms of the WFMS

Agreement (such cash collateral, the “WFMS Cash Collateral”). The Debtors seek authority for

WFMS to continue to receive or obtain payment for all WFMS Obligations, including, without

limitation, by way of recoupment or setoff against sales revenues processed by WFMS on behalf

of the Debtors under the WFMS Agreement or, pursuant to the WFMS Agreement, the Merchant

Services Cash Collateral, subject to the terms of the DIP Order or any subsequent orders approving

postpetition financing or authorizing the use of cash collateral.

        25.     Prior to the commencement of the Debtors’ chapter 11 cases, Wells Fargo, as

administrative agent and collateral agent (in such capacity, the “Prepetition Revolver Loan

Agent”) and the lenders party to the Prepetition Revolver Credit Agreement (as defined below)

(the “Prepetition Revolver Lenders,” and together with the Prepetition Revolver Loan Agent and



4
    The “WFMS Agreement” is that certain Merchant Services Agreement (comprised of that certain Merchant
    Processing Application and accompanying Program Guide), dated on or around July 28, 2020 (as amended,
    restated, supplemented, or otherwise modified from time to time).

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the Bank Product Providers (as defined below), the “Revolver Secured Parties”) made asset-

based revolving loans, issued letters of credit, and provided bank products and other financial

accommodations to Parent and its affiliates, pursuant to the terms and conditions set forth in that

certain Credit Agreement, dated January 31, 2020 (as amended, 5 the “Prepetition Revolver

Credit Agreement”).

        26.     Prior to the Petition Date, the Debtors and Prepetition Revolver Loan Agent

executed that certain Amended and Restated Payoff Letter, dated as of March 4, 2024 (the “Payoff

Letter”), pursuant to which, inter alia, the Debtors paid in full and/or cash collateralized all

obligations owing under the Prepetition Revolver Credit Agreement (other than certain contingent

liabilities, which by the terms of the Prepetition Revolver Credit Agreement, remain continuing).

        27.     In connection with the Payoff Letter, the Prepetition Revolving Loan Agent holds:

(a) $1,196,860 in cash collateral for the benefit of the Prepetition Revolver Lenders with respect

to obligations regarding “Letters of Credit” issued under and as defined in the Prepetition

Revolver Credit Agreement (the “Letter of Credit Obligations”), which amount is equal to 103%

of the “Letter of Credit Usage” (as such term is defined in the Prepetition Revolver Credit

Agreement) existing on February 26, 2024 (the “Letter of Credit Cash Collateral”);

(b) $1,650,000 representing cash collateral for the benefit of the “Bank Product Providers,” with

respect to obligations regarding “Bank Products,” and Wells Fargo, with respect to obligations

regarding the “Continuing Cash Management Services” (as such terms are defined in the


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    The Prepetition Revolver Credit Agreement has been amended by: (i) that certain Omnibus Release, Amendment,
    Limited Waiver, and Reaffirmation Agreement, dated October 14, 2020, (ii) that certain Consent and Amendment
    No. 1 to Credit Agreement, dated December 30, 2020, (iii) that certain Amendment to Loan Documents, dated
    May 13, 2021, (iv) that certain Consent Under Credit Agreement, dated September 15, 2021, (v) that certain
    Amendment to Loan Documents, dated October 29, 2021, (vi) that certain Amendment No. 4 to Credit
    Agreement and Loan Documents, dated November 30, 2022, (vii) that certain Limited Consent and Amendment
    No. 5 to Credit Agreement and Loan Documents, dated April 25, 2023, and (viii) that certain Amendment No. 6
    to Credit Agreement and Loan Documents, dated July 28, 2023.

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Prepetition Revolver Credit Agreement) (such obligations described in this clause (b), collectively,

the “Bank Product Obligations,” and such cash collateral described in this clause (b), the “Bank

Product Cash Collateral”); and (c) $100,000 representing cash collateral as expense reserve

(the “Expense Reserve,” and together with the Letter of Credit Cash Collateral and the Bank

Product Cash Collateral, collectively, the “Prepetition Revolver Cash Collateral”), which may

be applied by the Prepetition Revolving Loan Agent in its discretion to satisfy any obligations

owing in respect of the Letter of Credit Obligations, the Bank Product Obligations, and/or any

other continuing indemnity or cost and expense reimbursement obligations under the Payoff Letter

and/or the Prepetition Revolver Credit Agreement (the “Expense and Indemnity Obligations”),

subject to the terms of the DIP Order or any subsequent orders approving postpetition financing

or authorizing the use of cash collateral.

                                           The DIP Facility

I.      The Debtors’ Need for Access to Financing and the Use of Cash Collateral.

        28.     As described in the First Day Declaration and the Del Genio DIP Declaration, the

Debtors enter these cases after facing unforeseen and dramatic shifts in consumer fitness brought

on by the COVID-19 pandemic. As of the Petition Date, the Debtors’ total cash balance is

insufficient to operate their enterprise in the immediate term. See Del Genio DIP Decl. ¶ 11. As

a result of a changing consumer preferences, increased competition in the marketplace, lack of

retail orders, and increased interest rates, the Debtors effectively have little to no access to liquidity

under their prepetition facilities. Cash in accounts subject to security interests and possessed by the

Prepetition Term Loan Lenders constitutes Cash Collateral, and accordingly, the Debtors will not

be able to meet their near-term liquidity needs without access to the additional financing afforded

by the DIP Facility or without use of Cash Collateral. See Del Genio DIP Decl. ¶¶ 11-13.



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         29.   As discussed above, the Company received notices from the Prepetition Term Loan

Lenders and Prepetition Revolver Lenders asserting a cash dominion event had occurred. See Del

Genio DIP Decl. ¶ 11.

         30.   Through these cases, the Debtors seek to effectuate a sale of substantially all of

their assets. Without the DIP Facility and access to Cash Collateral, the Debtors face liquidation,

to the detriment of their estates, including the collateral positions of their secured lenders. Id. at

¶ 13.

         31.   Prior to the Petition Date, the Debtors, in consultation with their proposed financial

advisor, FTI Consulting, reviewed and analyzed their projected cash needs and prepared the DIP

Budget of postpetition cash needs of the Debtors over the period set forth in the DIP Budget. Id.

at ¶¶ 14-15. The Debtors’ current liquidity needs are illustrated in the DIP Budget, attached to the

Interim Order as Exhibit 2. The Debtors believe that the DIP Budget and the projections therein

provide a good faith estimate of their funding requirements over the identified period and are

reasonable and appropriate under the circumstances. See id. at ¶ 15. The Debtors relied on these

forecasts to determine the amount of postpetition financing required to administer these chapter 11

cases.

         32.   Immediate access to the DIP Facility and Cash Collateral is essential to not only

meet working capital and business operating needs, but also to fund the administration of these

chapter 11 cases, enabling the Debtors to pursue a sale of their assets. Id. at ¶¶ 31-32. Further,

the Debtors require the continued cooperation of vendors, customers, employees, and other

stakeholders for these chapter 11 cases. Id. at ¶ 13. Without access to the DIP Facility and use of

Cash Collateral, the Debtors will be unable to reassure these stakeholders that the Debtors have

adequate liquidity to fund these chapter 11 cases. See id. at ¶¶ 13, 33.



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       33.     Therefore, the Debtors believe the DIP Facility is essential to preserve and

maximize the value of their estates and responsibly administer these chapter 11 cases.

       A.      Alternative Sources of Financing Are Not Available on Better Terms.

       34.     In anticipation of these chapter 11 cases, and in an effort to support a marketing

and sale process, the Debtors commenced a marketing process to obtain postpetition financing and

solicit interest in a going-concern sale transaction.

       35.     Despite the interest and the best efforts of the Company and its advisors, the

Company was unable to find a counterparty to complete a viable out-of-court transaction. In late

2023, the Company engaged FTICA as investment banker for an in-court sale process.

       36.     To preserve liquidity and preserve the greatest possible recovery for stakeholders,

the Company has determined that an expeditious sale process and resolution of these cases is

necessary. Accordingly, FTI Consulting conducted an outreach process to solicit offers for DIP

financing in preparation for these chapter 11 filings. Id. at ¶ 17. FTI Consulting contacted over

twenty parties based on the size of the financing need, industry, and parties who provide financing

in similar situations to the Debtors. Id. FTI Consulting contacted many of these parties in a prior

out of court financing process the Company and its advisors conducted for the company in 2023.

Id. While the marketing process garnered some initial interest from third parties, these third parties

passed due to size, speed of the process, collateral, priority of the DIP and the uncertainty of

quickly identifying a stalking horse bidder.        Id. Ultimately, the Debtors, assisted by FTI

Consulting, determined that the proposed DIP financing structure from SLR was most favorable

to support the Debtors in these chapter 11 cases. Id.

       37.     The Debtors lack sufficient unencumbered assets to secure the magnitude of

financing required to meet the Debtors’ near-term liquidity needs. Id. at ¶ 24. No party that FTI

Consulting engaged with as part of the postpetition financing process (other than the DIP Lenders)
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was interested in providing a postpetition financing package to fund the Debtors’ liquidity needs,

either on a junior, unsecured, pari passu, or priming basis. Id.

       38.     There were no third-party priming proposals. Id. at ¶ 26. During discussions with

the advisors to the DIP Lenders, the DIP Lenders made it clear that that they would not consent to

the Debtors’ incurrence of priming financing by any other party. Id.

       39.     Furthermore, given the lack of alternatives available, the Debtors believe that

providing roll-up of loan obligations under the Prepetition Term Loan Obligations in the aggregate

amount of $16 million (the “Roll-Up”) is a sound exercise of their business judgment. Id. at ¶ 27.

The Roll-Up was a necessary prerequisite to the provision of loans set forth in the DIP Facility by

the DIP Lenders. Id. Absent the $25 million in financing from the DIP Lenders, it is likely that

the Debtors would have no alternative other than to launch a value-destructive, disorderly

liquidation of their businesses at the outset of these chapter 11 cases. See id. at ¶¶ 13, 27.

       B.      Negotiation of the DIP Facility.

       40.     In the days leading up to the Petition Date, the Debtors and their advisors engaged

in negotiations with the DIP Lenders around the terms of the DIP Facility. Id. at ¶ 19.

       41.     The Debtors shared numerous draft term sheets and mark-ups, and held multiple

telephone conferences with both the advisors to, and principals of, the DIP Lenders. Id. Despite

the necessarily condensed timeframe for reaching a deal on postpetition financing, the Debtors

marshaled information as quickly as possible and provided a number of critical due diligence items

to the DIP Lenders. Id. The parties engaged in hard-fought, arm’s-length negotiations in an effort

to reach the best available material terms under the circumstances. Id.

                                          Basis for Relief




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I.      The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
        DIP Loan Documents.

        A.      Entry into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
                Business Judgment.

        42.     The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facility, and use Cash

Collateral.    Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured or

superpriority financing under certain circumstances discussed in detail below. Courts grant a

debtor in possession considerable deference in acting in accordance with its business judgment in

obtaining postpetition secured credit, so long as the agreement to obtain such credit does not run

afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re Trans

World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition loan and

receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In

re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer

to the business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion

under section 364 is to be utilized on grounds that permit reasonable business judgment to be

exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

process and powers or its purpose is not so much to benefit the estate as it is to benefit a party-in-

interest.”).

        43.     Specifically, to determine whether the business judgment standard is met, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second guess a debtor’s business decision when that decision involves “a business judgment

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made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

the [Bankruptcy] Code”).

       44.     Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003)

(while many of the terms favored the DIP lenders, “taken in context, and considering the relative

circumstances of the parties,” the court found them to be reasonable); see also Unsecured

Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen McLean Oil

Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into

“‘hard’ bargains” to acquire funds for its reorganization). The Court may also appropriately take

into consideration non-economic benefits to the Debtors offered by a proposed postpetition

facility. For example, in In re ION Media Networks, Inc., the bankruptcy court for the Southern

District of New York held that:

               Although all parties, including the Debtors and the Committee, are
               naturally motivated to obtain financing on the best possible terms, a
               business decision to obtain credit from a particular lender is almost
               never based purely on economic terms. Relevant features of the
               financing must be evaluated, including non-economic elements
               such as the timing and certainty of closing, the impact on creditor
               constituencies and the likelihood of a successful reorganization.
               This is particularly true in a bankruptcy setting where cooperation
               and establishing alliances with creditor groups can be a vital part of
               building support for a restructuring that ultimately may lead to a
               confirmable reorganization plan. That which helps to foster
               consensus may be preferable to a notionally better transaction that
               carries the risk of promoting unwanted conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

       45.     The Debtors’ determination to move forward with the DIP Facility is an exercise

of their sound business judgment following an arm’s length process and careful evaluation of

available alternatives. Specifically, the Debtors and their advisors determined that the Debtors

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would require postpetition financing to meet their near-term liquidity needs, and to achieve a sale.

Without the DIP Facility, the Debtors would have been unable to pursue an orderly sale of their

business. The financing was critical to the Debtors’ strategy for entering these cases on stable

footing. The proceeds of the DIP Facility shall be used to, among other things, (i) pay the fees,

costs, and expenses incurred in connection with the DIP Credit Agreement and the other Loan

Documents, and (ii) to pay amounts associated with the Term Loan as provided in the Approved

Budget and for working capital and general corporate purposes. The Debtors negotiated the DIP

Facility and other DIP Loan Documents with the DIP Lenders in good faith, at arm’s length, and

with the assistance of their respective advisors, and the Debtors believe that they have obtained

the best financing available under the circumstances. Accordingly, the Court should authorize the

Debtors’ entry into the DIP Credit Agreement, as it is a reasonable exercise of the Debtors’

business judgment.

       B.        The Debtors Should Be Authorized to Grant Liens and Superpriority
                 Claims.

       46.       The Debtors propose to obtain financing under the DIP Facility by providing

security interests and liens as set forth in the DIP Loan Documents pursuant to section 364(c) of

the Bankruptcy Code. Specifically, the Debtors propose to provide to the DIP Lenders postpetition

security interest in and liens on the Collateral that are valid, perfected, allowed, enforceable, non-

avoidable and not subject to challenge, dispute or subordination immediately upon entry of the

Interim Order.

       47.       The above-described liens on encumbered and unencumbered assets are common

features of postpetition financing facilities, and were a necessary feature to provide security for

the proposed financings. Indeed, postpetition financing facilities approved in this Circuit and

elsewhere routinely are secured by the proceeds of a debtor’s unencumbered assets such as


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leaseholds that are subject to leases that prohibit the impositions of liens thereon. See, e.g., In re

Thrasio Holdings, Inc., No. 24-11840 (CMG) (Bankr. D.N.J. Mar. 1, 2024) (approving DIP liens

in substantially all of the property, assets, and other interests in property and assets of the debtors,

including an equity pledge of foreign subsidiaries and all prepetition property and post-petition

property and the proceeds thereof, on an interim basis); In re Careismatic Brands, LLC, No. 24-

10561 (VFP) (Bankr. D.N.J. Feb. 29, 2024) (approving DIP liens on collateral including any equity

interests of subsidiaries and affiliates or the proceeds thereof as permitted by applicable law); In

re Cyxtera Techs., Inc., No. 23-14853 (JKS) (Bankr. D.N.J. July 19, 2023) (approving DIP liens

on collateral including any leasehold interests or the proceeds thereof as permitted by applicable

law); In re Bed Bath & Beyond Inc., No. 23-13359 (VFP) (Bankr. D.N.J. June 15, 2023) (approving

DIP liens on collateral including all proceeds of leased real property and proceeds of any avoidance

actions); In re David’s Bridal, LLC, No. 23-13131 (CMG) (Bankr. D.N.J. May 24, 2023) (same);

In re ATD Corporation, No. 18-12221 (KJC) (Bankr. D. Del. Oct. 26, 2018) (approving DIP liens

on collateral including cash, accounts, inventory, and intercompany claims). 6

        48.      The statutory requirement for obtaining postpetition credit under section 364(c) is

a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c); see In re

Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c)

of the Bankruptcy Code is authorized, after notice and hearing, upon showing that unsecured credit

cannot be obtained) (citing 11 U.S.C. § 364(c)). Courts have articulated a three-part test to




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    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.

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determine whether a debtor is entitled to financing under section 364(c) of the Bankruptcy Code.

Specifically, courts look to whether:

               i.      the debtor is unable to obtain unsecured credit under section 364(b) of the
                       Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

               ii.     the credit transaction is necessary to preserve the assets of the estate; and

               iii.    the terms of the transaction are fair, reasonable, and adequate, given the
                       circumstances of the debtor-borrower and proposed lenders.

See In re Los Angeles Dodgers LLC, 457 B.R. 308, 312 (Bankr. D. Del. 2011); see also In re Ames

Dep’t Stores, 115 B.R. 34, 37–40 (Bankr. S.D.N.Y. 1990); In re St. Mary Hosp., 86 B.R. 393, 401–

02 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

       49.     As described above and as set forth in the Del Genio DIP Declaration, no third-party

lender indicated it would be willing to provide postpetition DIP financing on an unsecured, pari

passu, or junior-lien basis to the Prepetition Secured Parties. See Del Genio DIP Decl. ¶ 24.

Therefore, the Debtors, in consultation with their advisors, concluded that any workable financing

likely would require the support of, or be provided by, the Debtors’ existing lenders. Absent the

DIP Facility, which will provide assurances that the Debtors will have sufficient liquidity to

administer these chapter 11 cases, the Debtors would likely need to launch a value-destructive,

disorderly liquidation of their businesses at the outset of these chapter 11 cases. See id. at ¶ 13.

Without postpetition financing, the Debtors lack sufficient funds to operate their enterprise,

continue paying their debts as they come due, and cover the projected costs of these chapter 11

cases. See id. at ¶¶ 11-13. Given the Debtors’ financial circumstances, the Debtors believe that

the terms of the DIP Facility, as set forth in the DIP Loan Documents, are reasonable as more fully

set forth above and in the Del Genio DIP Declaration. For all these reasons, the Debtors submit

that they have met the standard for obtaining postpetition financing.



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       50.     In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) of the

Bankruptcy Code provides that a court

               may authorize the obtaining of credit or the incurring of debt
               (a) with priority over any or all administrative expenses of the kind
               specified in section 503(b) or 507(b) of [the Bankruptcy Code];
               (b) secured by a lien on property of the estate that is not otherwise
               subject to a lien; or (c) secured by a junior lien on property of the
               estate that is subject to a lien.

11 U.S.C. § 364(c). The Debtors are unable to obtain unsecured credit. Therefore, approving a

superpriority claim in favor of the DIP Lenders is reasonable and appropriate.

       51.     Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien, after

notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is

adequate protection of the interest of the holder of the lien on the property of the estate on which

such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). The Debtors may incur

“priming” liens under the DIP Facility if either (a) the Prepetition Secured Parties have consented

or (b) Prepetition Secured Parties interest in collateral are adequately protected. See Anchor Savs.

Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly consenting to the

superpriority lien, those [undersecured] creditors relieved the debtor of having to demonstrate that

they were adequately protected.”). Accordingly, the Debtors may incur “priming” liens under the

DIP Facility if either (a) their Prepetition Secured Parties have consented or (b) Prepetition

Secured Parties interests in collateral are adequately protected.

       52.     Here, the DIP Lenders have facilitated $9 million of new money financing. Given

that no third party would provide the same amount or terms for such financing, the liens, claims,

and other forms of adequate protection afforded to the DIP Lenders and Prepetition Secured Parties


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are both reasonable and necessary. Therefore, the relief requested pursuant to section 364(d)(1)

of the Bankruptcy Code is appropriate.

       53.     Further, pursuant to section 364(d)(1) of the Bankruptcy Code, the Debtors propose

to provide to: (a) WFMS a postpetition priming lien and security interest with respect to the WFMS

Cash Collateral; and (b) Wells Fargo a postpetition priming lien and security interest with respect

to the Prepetition Revolver Cash Collateral. The DIP Lender has consented to the priming of its

prepetition and postpetition liens, if any, in respect of the WFMS Cash Collateral and Prepetition

Revolver Cash Collateral.

       C.      No Comparable Alternative to the DIP Facility Is Reasonably Available on
               More Favorable Overall Terms.

       54.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

Prods., Inc., 137 B.R. 897, 899-900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where

only a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic

and unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re

Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988); see also In re Snowshoe at 1088

(demonstrating that credit was unavailable absent the senior lien by establishment of unsuccessful

contact with other financial institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R.

660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused to grant

unsecured loans was sufficient to support conclusion that section 364 requirement was met); In re

Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek

other sources of financing under section 364(a) and (b)).




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        55.     As noted above, the Debtors do not believe that a more favorable alternative DIP

financing is reasonably available given the realities imposed by the Debtors’ existing capital

structure, the Debtors’ lack of significant unencumbered value, and the Debtors’ solicitation of

alternative financing proposals. See Del Genio DIP Decl. ¶¶ 23-24. Thus, the Debtors have

determined that the DIP Facility provides the only viable means through which the Debtors can

secure critical liquidity in the near term. Simply put, the DIP Facility provides the Debtors with

the liquidity they need at the lowest cost available while ensuring that the Debtors have runway to

achieve a sale transaction. Therefore, the Debtors submit that the requirement of section 364 of

the Bankruptcy Code that alternative credit on more favorable terms be unavailable to the Debtors

is satisfied.

        D.      The Repayment Features of the DIP Facility Are Appropriate.

        56.     Section 363(b) of the Bankruptcy Code permits a debtor to use, sell, or lease

property, other than in the ordinary course of business, with court approval. See 11 U.S.C.

§ 363(b). It is well settled in the Third Circuit that such transactions should be approved when

they are supported by a sound business purpose. See In re Abbots Dairies of Pennsylvania, Inc.,

788 F.2d 143, 150 (3d Cir. 1986) (holding that in the Third Circuit, a debtor’s use of assets outside

the ordinary course of business under section 363(b) of the Bankruptcy Code should be approved

if the debtor can demonstrate a sound business justification for the proposed transaction). The

business judgment rule shields a debtor’s management from judicial second-guessing. In re Johns-

Manville Corp., 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986) (“[T]he [Bankruptcy] Code favors

the continued operation of a business by a debtor and a presumption of reasonableness attaches to

a debtor’s management decisions.”).

        57.     Repayment of prepetition debt (often referred to as a “roll-up”) is a common feature

in debtor in possession financing arrangements. Courts in this Circuit have approved similar DIP
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features, including on the first day of the case. See, e.g., In re Rite Aid Corp., No. 23-18993 (MBK)

(Bankr. D.N.J. Oct. 17, 2023) (authorizing an interim roll-up of the prepetition FILO loans); In re

Bed Bath & Beyond Inc., No. 23-13359 (VFP) (Bankr. D.N.J. April 24, 2023) (authorizing a $240

million DIP facility, including a roll-up of approximately $200 million of prepetition principal);

In re Cyxtera Techs., Inc., No. 23-14853 (JKS) (Bankr. D.N.J. June 6, 2023) (authorizing an

approximately $200 million DIP financing that included a roll-up of up to $36 million in

prepetition first lien term loans debt pursuant to interim order); In re ATD Corporation, No. 18-

12221 (KJC) (Bankr. D. Del. Oct. 5, 2018) (authorizing an approximately $1,230 million DIP,

including a full roll-up of the prepetition ABL outstanding principal of $639 million and a roll-up

of prepetition FILO loans of $57 million); In re Remington Outdoor Co., Inc., No. 18-10684 (BLS)

(Bankr. D. Del. Mar. 28, 2018) (authorizing approximately $338 million DIP and a roll-up of

approximately $150 million, including a full ABL roll-up of $114 million upon entry of the interim

order). 7

        58.      The DIP Facility will roll up $16 million in indebtedness outstanding under the

Prepetition Term Loan Obligations. The Roll-Up is a sound exercise of the Debtors’ business

judgment, is a material component of the DIP Facility, and was required by the DIP Lenders as a

condition to their commitments to provide postpetition financing. See Del Genio DIP Decl. ¶ 27.

By entering into the DIP Facility and agreeing to the Roll-Up with the support of the DIP Lenders

and the Prepetition Term Loan Lenders, the Debtors will receive immediate access to Cash

Collateral of the Prepetition Secured Parties, which the Debtors likely could not have secured

under a postpetition financing provided by a third-party. Id.




7
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.

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       59.     Critically, the roll up of loans under the Prepetition Term Loan Obligations will not

prejudice other parties in interest. All secured creditors have consented to the Roll-Up provided

under the DIP Facility. Importantly, the Roll-Up will not prejudice any rights a party may

otherwise have to challenge the amount, validity, perfection, enforceability, priority, or extent of

the debt or liens associated therewith. Pursuant to the procedures set forth in the Interim DIP

Order, any official committee appointed in these chapter 11 cases and any other parties in interest

have the ability to bring a challenge proceeding in accordance with applicable law. Interim DIP

Order § 4.1. These procedures were developed to ensure that no party in interest would be

prejudiced by the relief requested herein and to provide the Court with comfort that any amounts

provided on account of the refinancing can be disgorged, refunded, or repaid to the extent the DIP

Facility debt or liens are successfully challenged. Given these circumstances, the Roll-Up is a

sound exercise of the Debtors’ business judgment and should be approved.

II.    The Debtors Should Be Authorized to Use the Cash Collateral.

       60.     Section 363 of the Bankruptcy Code generally governs the use of estate property.

Section 363(c)(2)(A) of the Bankruptcy Code permits a debtor in possession to use Cash Collateral

with the consent of the secured party. See 11 U.S.C. § 363(c)(2)(A). Here, the DIP Lenders and

the Prepetition Secured Parties consent or are deemed to consent to the Debtors’ use of the Cash

Collateral, subject to the terms and limitations set forth in the Interim Order.

       61.     Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

in property when a debtor uses Cash Collateral. See 11 U.S.C. § 363(e). Further, section 362(d)(1)

of the Bankruptcy Code provides for adequate protection of interests in property due to the

imposition of the automatic stay. See 11 U.S.C. § 362(d)(1); In re Cont’l Airlines, 91 F.3d 553,

556 (3d Cir. 1996) (en banc). While section 361 of the Bankruptcy Code provides examples of

forms of adequate protection, such as granting replacement liens and administrative claims, courts
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decide what constitutes sufficient adequate protection on a case-by-case basis. See, e.g., In re

Swedeland Dev. Grp., Inc., 16 F.3d 552, 564 (3d Cir. 1994) (explaining that the “determination of

whether there is adequate protection is made on a case by case basis”); In re Satcon Tech. Corp.,

No. 12-12869 (KG), 2012 WL 6091160, at *11 (Bankr. D. Del. Dec. 7, 2012) (same); In re N.J.

Affordable Homes Corp., No. 05-60442 (DHS), 2006 WL 2128624, at *14 (Bankr. D.N.J. June

29, 2006) (“the circumstances of the case will dictate the necessary relief to be given”); In re

Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2 (Bankr. D. Del. Feb. 18,

1992) (“what interest is entitled to adequate protection and what constitutes adequate protection

must be decided on a case-by-case basis”); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr.

D.N.H. 1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at 361–66 (15th ed. 1993) (explaining

that adequate protection can take many forms and “must be determined based upon equitable

considerations arising from the particular facts of each proceeding”)).

       A.      Adequate Protection Provided to the Prepetition Secured Parties.

       62.     As set forth in the Interim Order, the Debtors propose to provide the Prepetition

Secured Parties with a variety of adequate protection to protect against the postpetition diminution

in value of the Cash Collateral resulting from the use, sale, or lease of the Cash Collateral by the

Debtors and the imposition of the automatic stay, including:

               i.      Replacement Liens. As adequate protection for the diminution in value of
                       their interests in the Collateral (including Cash Collateral) on account of the
                       Debtors’ use of such Collateral (including Cash Collateral), the imposition
                       of the automatic stay and the subordination to the Carve Out Expenses, the
                       Prepetition Term Loan Agent, for the benefit of itself and Prepetition Term
                       Loan Lenders (each in their respective capacities under the Prepetition Term
                       Loan Documents), is hereby granted the Term Loan Replacement Lien. The
                       Term Loan Replacement Lien shall be subject and subordinate to (i) the
                       Permitted Liens and Claims and (ii) the liens and security interests granted
                       to the DIP Secured Parties in the Collateral securing the DIP Obligations,
                       and shall otherwise be senior to all other security interests in, liens on, or
                       claims against any of the Collateral.


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           ii.      Section 507(b) Priority Claims. As adequate protection for the diminution
                    in value of their interests in the Collateral (including Cash Collateral) on
                    account of the Debtors’ use of such Collateral (including Cash Collateral),
                    the imposition of the automatic stay and the subordination to the Carve Out
                    Expenses, the Prepetition Term Loan Agent, for the benefit of itself and
                    Prepetition Term Loan Lenders (each in their respective capacities under
                    the Prepetition Term Loan Documents), is hereby granted the Adequate
                    Protection Superpriority Claim. The Adequate Protection Superpriority
                    Claim shall be subject to the Permitted Liens and Claims and the
                    Superpriority Claim of the DIP Secured Parties, and shall otherwise have
                    priority over all administrative expense claims and unsecured claims against
                    the Debtors and their Estates now existing or hereafter arising, of any kind
                    or nature whatsoever.

           iii.     Additional Adequate Protection.

                    a.      Fees and Expenses. As further adequate protection, the Debtors are
                            authorized to pay, without further Court order, reasonable and
                            documented legal fees and expenses, incurred before the Petition
                            Date, of counsel to the Prepetition Term Loan Agent (in its capacity
                            under the Prepetition Term Loan Documents) then owing under the
                            Prepetition Credit Agreement. In addition, the Debtors are
                            authorized to pay, without further Court order, reasonable and
                            documented legal fees and expenses, incurred after the Petition
                            Date, of counsel to the Prepetition Term Loan Agent (in its capacity
                            under the Prepetition Term Loan Documents); provided, that (a) the
                            U.S. Trustee and the Committee shall have ten (10) days from
                            receipt to review the summary legal invoices of such counsel, and
                            (b) in the event the U.S. Trustee or Committee files with this Court
                            an objection to any such legal invoice within ten (10) days of its
                            receipt thereof, the undisputed portion of such legal invoice shall be
                            paid without further order of the Court whereas the portion of such
                            legal invoice subject to such objection shall not be paid until
                            resolution of such objection by this Court and (c) in the event neither
                            the U.S. Trustee nor the Committee shall file with this Court an
                            objection to any such legal invoice within ten (10) days of its receipt
                            thereof, such legal invoice shall be paid without further order of the
                            Court and shall not be subject to any further review, challenge or
                            disgorgement.

                    b.      Adequate Protection Payments. As further adequate protection, the
                            Prepetition Term Loan Agent, on behalf of itself and the other
                            Prepetition Secured Parties, shall receive, upon entry of the Interim
                            Order, at any time and for so long as any Prepetition Term Loan
                            Obligations remain outstanding, monthly adequate protection
                            payments, as and when due under the applicable Prepetition Term

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                              Loan Documents equal to the interest at the contractual non-default
                              rate that would otherwise be owed to the Prepetition Secured Parties
                              under the Prepetition Term Loan Documents during such monthly
                              period in respect of the Prepetition Term Loan Obligations, until
                              such time as the Prepetition Term Loan Obligations are indefeasibly
                              paid in full or constitute DIP Obligations for all purposes and in
                              either case are no longer subject to challenge. Any such payments
                              may be subject to disgorgement or recharacterization as principal
                              repayment to the extent of a successful, final, and non-appealable
                              Objection (as defined in the Interim Order), to the extent ordered by
                              the Court.

                      c.      Information Rights. The Debtors shall promptly provide the
                              Prepetition Term Loan Agent with all required financial reporting
                              and other periodic reporting that is required to be provided to the
                              DIP Agent under the DIP Loan Documents.

III.   The Debtors Should Be Authorized to Pay the Fees Required by the DIP Lenders
       Under the DIP Loan Documents.

       63.     Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain fees to the DIP Agent and the DIP Lenders. In particular, the Debtors

have agreed to pay the fees set forth in the Amendment No. 3 Fee Letter, attached hereto as

Exhibit B, in addition to the other economics set forth in the DIP Credit Agreement.

       64.     Courts in this district and others have approved similar aggregates in fees in large

chapter 11 cases. See, e.g., In re Thrasio Holdings, Inc., No. 24-11840 (CMG) (Bankr. D.N.J.

Mar. 1, 2024) (approving original issue discount of 2 percent, maturity extension fee of 1 percent,

and a backstop payment of 7.5 percent of the new money loans on an interim basis); In re

Careismatic Brands, LLC, No. 24-10561 (VFP) (Bankr. D.N.J. Jan. 24, 2024) (approving an 11

percent backstop premium, a 3.5 percent commitment premium, and a 3.5 percent exit premium

on $50 million in DIP commitments on an interim basis); In re Cyxtera Techs, Inc., No. 23-14853

(JKS) (Bankr. D.N.J. June 6, 2023) (approving a 6.0 percent backstop fee and 3.0 percent

commitment fee); In re Akorn, Inc., No. 20-11177 (KBO) (Bankr. D. Del. May 22, 2020)

(approving a commitment fee of approximately 3.0 percent of the DIP loans, a backstop fee of
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approximately 3.0 percent of the DIP loans, and a fronting premium of approximately 0.50% of

the aggregate principal amount); In re ATD Corporation, No. 18-12221 (KJC) (Bankr. D. Del.

Oct. 5, 2018) (approving a cash fee approximately 2.0 percent of the overall DIP facility). 8

          65.      It is understood and agreed by all parties, that these fees are an integral component

of the overall terms of the DIP Facility, and were required by the DIP Lenders as consideration for

the extension of postpetition financing. See Del Genio DIP Decl. ¶¶ 29-30. Accordingly, the

Court should authorize the Debtors to pay the fees provided under the DIP Loan Documents in

connection with entering into those agreements.

IV.       The DIP Lenders Should Be Deemed Good-Faith Lenders Under Section 364(e).

          66.      Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

                   The reversal or modification on appeal of an authorization under this
                   section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                   or of a grant under this section of a priority or a lien, does not affect
                   the validity of any debt so incurred, or any priority or lien so granted,
                   to an entity that extended such credit in good faith, whether or not
                   such entity knew of the pendency of the appeal, unless such
                   authorization and the incurring of such debt, or the granting of such
                   priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

          67.      As explained herein, in the Del Genio DIP Declaration, the DIP Loan Documents

are the result of: (a) the Debtors’ reasonable and informed determination that the DIP Lenders

provided the best postpetition financing alternative available under the circumstances; and



8
      Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
      Copies of these orders are available upon request of the Debtors’ proposed counsel.

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(b) extended arm’s length, good-faith negotiations between the Debtors and the DIP Lenders. The

Debtors submit that the terms and conditions of the DIP Loan Documents are reasonable under the

circumstances, and the proceeds of the DIP Facility and Cash Collateral, including Eligible Cash,

will be used only for purposes that are permissible under the Bankruptcy Code. Further, no

consideration is being provided to any party to the DIP Loan Documents other than as described

herein. Accordingly, the Court should find that the DIP Lenders are “good faith” lenders within

the meaning of section 364(e) of the Bankruptcy Code and are entitled to all of the protections

afforded by that section.

V.     The Automatic Stay Should Be Modified on a Limited Basis.

       68.     The proposed Interim Order provides that the automatic stay provisions of

section 362 of the Bankruptcy Code will be modified to:

               i.      allow the DIP Lenders to file any financing statements, security agreements,

                       notices of liens, and other similar instruments and documents in order to

                       validate and perfect the liens and security interests granted to them under

                       the Interim Order;

               ii.     allow the Prepetition Revolver Loan Agent and the Bank Product Providers

                       (including, without limitation, WFMS) to apply: (i) the Letter of Credit

                       Cash Collateral and/or the Expense Reserve to satisfy the Letter of Credit

                       Obligations; (ii) the Bank Product Cash Collateral, the WFMS Cash

                       Collateral, and/or the Expense Reserve to satisfy the Bank Product

                       Obligations (including, without limitation, the WFMS Obligations), as

                       applicable; and (iii) the Expense Reserve to satisfy the Expense and

                       Indemnity Obligations, in each case, as the same become due and owing;



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               iii.   preserve Wells Fargo’s rights under the Card Agreement, including to

                      reduce the credit limit or otherwise modify or amend the Card Agreement,

                      which such rights shall not be waived, modified, or impaired;

               iv.    authorize WFMS to receive or obtain payment for the WFMS Obligations,

                      including, without limitation, by way of recoupment or setoff against sales

                      revenues processed by WFMS on behalf of the Debtors under the WFMS

                      Agreement or the reserve of $1,200,000 currently held by WFMS

                      thereunder, without further order of the Court, regardless of whether such

                      obligations arose prepetition or postpetition;

               v.     authorize the Debtors to pay or reimburse all WFMS Obligations to the

                      extent the amount of the WFMS Obligations owed to WFMS by the Debtors

                      exceeds the sales revenue being processed by WFMS and exceeds the

                      amounts available in reserve; and preserve WFMS’s rights under the

                      WFMS Agreement, including to modify or amend the WFMS Agreement,

                      which such rights shall not be waived, modified, or impaired.

       69.     The proposed Interim Order further provides that the automatic stay is modified as

necessary to permit the Debtors to grant liens to the DIP Lenders and to incur all liabilities and

obligations set forth in the Interim Order. Finally, the proposed Interim Order provides that,

following the occurrence of an Event of Default (as defined in the Interim Order) and an

appropriate opportunity for the Debtors to obtain appropriate relief from the Court, the automatic

stay shall be vacated and modified to the extent necessary to permit the DIP Agent to exercise all

rights and remedies in accordance with the DIP Loan Documents or applicable law.




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          70.      Stay modifications of this kind are ordinary and standard features of debtor in

possession financing arrangements and, in the Debtors’ business judgment, are reasonable and fair

under the circumstances of these chapter 11 cases. See, e.g., In re Thrasio Holdings, Inc., No. 24-

11840 (CMG) (Bankr. D.N.J. Mar. 1, 2024) (modifying automatic stay as necessary to effectuate

the terms of the order); In re Careismatic Brands, LLC, No. 24-10561 (VFP) (Bankr. D.N.J. Jan.

24, 2024); In re Cyxtera Techs., Inc., No. 23-14853 (JKS) (Bankr. D.N.J. June 6, 2023) (same); In

re Bed Bath & Beyond Inc., No. 23-13359 (VFP) (Bankr. D.N.J. Apr. 24, 2023) (same); In re

David’s Bridal, LLC, No. 23-13131 (CMG) (Bankr. D.N.J. Apr. 17, 2023) (same); ATD

Corporation, No. 18-12221 (KJC) (Bankr. D. Del. Oct. 5, 2018) (same). 9

VI.       Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
          Would Cause Immediate and Irreparable Harm.

          71.      Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

obtain credit pursuant to section 364 of the Bankruptcy Code or to use Cash Collateral pursuant to

section 363 of the Bankruptcy Code may not be commenced earlier than fourteen (14) days after

the service of such motion. Upon request, however, the Court may conduct a preliminary,

expedited hearing on the Motion and authorize the obtaining of credit and use of cash collateral to

the extent necessary to avoid immediate and irreparable harm to a debtor’s estate.

          72.      For the reasons noted above, the Debtors have an immediate postpetition need to

use Cash Collateral and access the liquidity provided by the DIP Facility. Absent access to the

DIP Facility and the use of Cash Collateral, the Debtors will likely need to launch a value-

destructive liquidation at the outset of these chapter 11 cases. The Debtors cannot maintain the

value of their estates during the pendency of these chapter 11 cases without access to cash. The



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      Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
      Copies of these orders are available upon request of the Debtors’ proposed counsel.

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Debtors will use cash to fund the operation of their business for a sufficient amount of time to

conduct a sale transaction. Substantially all of the Debtors’ available cash constitutes the Cash

Collateral of the Prepetition Secured Parties or other secured parties who hold Permitted Liens (as

defined in the DIP Credit Agreement). The Debtors will therefore be unable to operate their

business or otherwise fund these chapter 11 cases without access to Cash Collateral and will suffer

immediate and irreparable harm to the detriment of all creditors and other parties in interest. See

Del Genio DIP Decl. ¶ 13. In short, the Debtors’ ability to administer these chapter 11 cases

through the use of Cash Collateral is vital to preserve and maximize the value of the Debtors’

estates.

           73.   The Debtors request that the Court hold and conduct a hearing to consider entry of

the Interim Order authorizing the Debtors, from and after entry of the Interim Order until the Final

Hearing, to receive initial funding under the DIP Facility. The Debtors require the initial funding

under the DIP Facility prior to the Final Hearing and entry of the Final Order to continue operating,

and to implement the relief requested in the Debtors’ other “first day” motions. This relief will

enable the Debtors to preserve and maximize value and, therefore, avoid immediate and irreparable

harm and prejudice to their estates and all parties in interest, pending the Final Hearing.

                                     Request for Final Hearing

           74.   Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing that is as soon as practicable, and in no event after 30 days

after the Petition Date, and fix the time and date prior to the Final Hearing for parties to file

objections to this Motion.




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                          Request for Bankruptcy Rule 6003 Waiver

       75.     The Debtors assert that immediate relief is necessary to avoid immediate and

irreparable harm. Bankruptcy Rule 6003 empowers a court to grant relief within the first

twenty-one (21) days after the commencement of a chapter 11 case “to the extent that relief is

necessary to avoid immediate and irreparable harm.” For the reasons discussed above, entry of

the proposed interim order is integral to the Debtors’ ability to successfully transition into

chapter 11 and avoid a severe disruption of the Debtors’ operations at this critical juncture and, in

turn, to preserve and maximize the value of the Debtors’ estates for the benefit of all stakeholders.

Accordingly, the Debtors submit that they have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003 and, therefore, respectfully request that the Court approve the

relief requested in this Motion.

                          Request for Bankruptcy Rule 6004 Waivers

       76.     The Debtors request a waiver of any applicable notice requirements under

Bankruptcy Rule 6004(a) and any stay of the order granting the relief requested herein pursuant to

Bankruptcy Rule 6004(h). As explained above and in the First Day Declaration, the relief

requested herein is necessary to avoid immediate and irreparable harm to the Debtors.

Accordingly, ample cause exists to justify the waiver of the notice requirements under Bankruptcy

Rule 6004(a) and the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent such notice

requirements and such stay apply.

                                   Waiver of Memorandum of Law

       77.     The Debtors request that the Court waive the requirement to file a separate

memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon which the

Debtors rely is set forth herein and this Motion does not raise any novel issues of law.



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                                       Reservation of Rights

       78.     Nothing contained herein or any action taken pursuant to relief requested is

intended to be or shall be construed as: (a) an admission as to the validity of any claim against the

Debtors; (b) a waiver of the Debtors’ or any party in interest’s rights to dispute any claim; (c) a

promise or requirement to pay any claim; (d) an implication or admission that any particular claim

is of a type specified or defined in this Motion or any order granting the relief requested by this

Motion or a finding that any particular claim is an administrative expense claim or other priority

claim; (e) a waiver of the Debtors’ or any other party in interest’s rights under the Bankruptcy

Code or any other applicable law; (f) a request for or granting of approval for assumption of any

agreement, contract, program, policy, or lease under section 365 of the Bankruptcy Code; or (g) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates. Likewise, if the Court grants the

relief sought herein, any payment made pursuant to the Court’s order is not intended to be and

should not be construed as an admission to the validity of any claim or a waiver of the Debtors’ or

any party in interest’s rights to subsequently dispute such claim.

                                               Notice

       79.     Notice of this Motion will be provided to: (a) the Office of the United States Trustee

for the District of New Jersey; (b) the holders of the thirty (30) largest unsecured claims against

the Debtors; (c) counsel to the Stalking Horse Bidder; (d) counsel to the DIP Agent, Morgan, Lewis

& Bockius LLP, 101 Park Avenue, New York, NY 10174, Attn: Marc R. Leduc

(marc.leduc@morganlewis.com), Jennifer Feldsher (jennifer.feldsher@morganlewis.com), and

McGrail & Bensinger LLP, 888-C Eighth Avenue, #107, New York, NY 10009, Attn: Ilana

Volkov (ivolkov@mcgrailbensinger.com); (e) the United States Attorney’s Office for the District

of New Jersey; (f) the Internal Revenue Service; (g) the Securities and Exchange Commission;

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(h) the state attorneys general for states in which the Debtors conduct business; (i) all appropriate

state taxing authorities; (j) all landlords, owners, and/or operators of premises at which any of the

Debtors’ inventory and/or equipment is located; (k) certain other parties identified in the certificate

of service filed with the Court, including, without limitation, all creditors who have filed or

recorded pre-petition liens or security interests against any of the Debtors’ assets; (l) any other

party entitled to notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the

nature of the relief requested, no other or further notice need be given.

                           [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtors respectfully request entry of the Interim Order, substantially

in the form attached hereto as Exhibit A, and the Final Financing Order (a) granting the relief

requested herein and (b) granting such other relief as is just and proper under the circumstances.

Dated: March 5, 2024


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